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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL


Case No.     CV 21-6724-MWF(Ex)                                        Dated: December 1, 2021

Title:       Hwan Kim -v- Kingsway Investment Inc., et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                    Not Reported
             Courtroom Deputy                                Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:

             Not Present                                    Not Present

PROCEEDINGS (IN CHAMBERS):                     COURT ORDER

       In light of the Notice of Settlement [14] filed November 29, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for January 10, 2022 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




                                                                              Initials of Deputy Clerk rs
